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EXHIBIT M

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Roth, Me|issa R.

From: Dickinson, Miche||e J.

Sent: Thursday, October 08, 2009 8:21 PN|
To: lsabel M Humphrey; Randy Yavitz

Cc: Rothl Me|issa R.; d|udwig@dg|ega|.com
Subject: Loomis

Counse|:

This confirms our telephone conversation today wherein you indicated that it was reasonable for us to expect to

receive all of Joseph Loomis and Jenni Loomis' documents in response to |ntersections' document requests by
Tuesday, October 13, 2009.
|V|iche|ie

10/22/2009

